AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Eastern District of Tennessee

KOVA Bristol TENN 1894, LLC

 

Plaintiff(s)

Vv. Civil Action No, 2:19-cv-84

Bristol Preservation, LLC

7 Defendant(s) _

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Bristol Preservation, LLC c/o Steven Mitchell Walters, registered agent
1954 W. State Street
Bristol, TN 37620-1940

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Lindsey L. Hobbs, Esq.

Wise & Reeves, PLLC
625 S. Gay St., Ste. 160
Knoxville, TN 37902

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT ®

     

Date: _5/24/2019

Signature of Cler t or Deputy Clerk

     

UstRIer OF

Case 2:19-cv-00084-TAV-MCLC Document6 Filed 05/24/19 Page lof2 PagelD #: 65
Case 2:19-cv-00084-DCLC-CRW Document 7 Filed 05/28/19 Pagelof2 PagelD #: 67
  

Civil Acton No:

Ao it oi O82) Summons ina Civil Action (Page 2)

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P4 (D)

This summons for (nameof individual antt tithe, if any) Bristol Preservation, LLC

was received by me on (date) Ss) ZY | ZOP7F _

at personally Served the summons:on the individual at (piace)

 

On (date) yor’

7 1 left the summons af the individual's residence or usual place of abode-with (name)

 

et al i Sh ci teen

 

; » wperson of suitable ape and discretion Who resides there,
on (date) ; and mailed acopy to the individual’s last Known address; or

Feteenet the summons on (name of individial) fru. Alted OFF ce Meh. » whois

designated by law:to-accept service of process om belialf of (name eMongenicailcn) Siipreey. Clesg
THACS [zo

a on-(date) S24 ZO

G I returned the summons unexecuted because ,or

OF Other (specify):

My fees are $ for travel and $ for services, for a total of §

sisted ae etn suet, tite ae 0.00

 

I declare under penalty of perjury ‘that this information is true.

owe: S1ZY /20)9. wb Ge)
"Server's Signature

Charies T. Hocker (865)385-7776

Printed name and title

VPS
PO Box 386)
Knoxville, Th 37927

Server 's address

  

 

 

 

Additional information regarding attempted service, ete:

Case 2:19-cv-00084-TAV-MCLC Document6 Filed 05/24/19 Page 2 of 2 PagelD #: 66
Case 2:19-cv-00084-DCLC-CRW Document 7 Filed 05/28/19 Page 2 of 2 PagelD #: 68
